          Case 1:20-cv-00298-CKK Document 25 Filed 06/25/20 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


    SALEM MAULUD ABOULGAED, et al.,
              Plaintiffs,
         v.                                                 Civil Action No. 20-298 (CKK)
    KHALIFA ABULGASIM HIFTER, et al.,
              Defendants.


                                             ORDER
                                          (June 25, 2020)

        The Court has received Plaintiffs’ Notice of Dismissal with Prejudice as to Aref Ali Nayed,

ECF No. 23. Plaintiffs voluntarily elected to dismiss all claims against Defendant Nayed with

prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1) as Defendant Nayed has not yet

filed an answer or motion for summary judgment. 1

        Accordingly, it is hereby ORDERED that Plaintiffs’ claims against Defendant Nayed are

DISMISSED with prejudice. There are still four remaining Defendants in this case: Khalifa

Abulgasim Hifter, Saqr Adam Geroushi, Mohamoud Al-Werfalli, and the United Arab Emirates.

        It is FURTHER ORDERED that Defendant Nayed’s Motion to Dismiss for Lack of

Jurisdiction and Failure to State a Claim, ECF No. 12, is DENIED AS MOOT. Deadlines related

to that Motion are VACATED.




1
  Defendant Nayed has filed a motion to dismiss, see ECF No. 12, which courts have generally
found not to qualify as a motion for summary judgment under Rule 41(a). See Aamot v. Kassel,
1 F.3d 441, 444 (6th Cir. 1993); see also Mitchell v. U.S. Bank Nat’l Ass’n for Wells Fargo Asset
Sec. Corp. Mortg. Pass-Through Certificates Series 2006-AR4, 293 F. Supp. 3d 209, 213 (D.D.C.
2018) (“Likewise, voluntary dismissal is available where the defendant files a Rule 12(b) motion
that does not rely on materials outside the pleadings.”).
         Case 1:20-cv-00298-CKK Document 25 Filed 06/25/20 Page 2 of 2




       It is FURTHER ORDERED that Plaintiff’s Motion for Authorization of Service of

Process by International Registered Mail and Through United States Counsel as to Defendant Aref

Ali Nayed, ECF No. 18, is also DENIED AS MOOT. Deadlines related to that Motion are

VACATED.

                                                      /s/
                                                   COLLEEN KOLLAR-KOTELLY
                                                   United States District Judge
